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                               CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on the 23rd day of August 2023, a true and correct copy
   of the foregoing Defendants’ Brief In Opposition, Affidavit In Opposition, and Declaration
   of Counsel In Opposition are being served this day on counsel of record, via Notice of
   Electronic Filing generated by CM/ECF to: Ryan M. Clancy, Esq. (ryan@business-
   esq.com), Anne Victoria Kotlarz, Esq. (Anne@business-esq.com), & Yamila Lorenzo, Esq.
   (yamila@business-esq.com) AINSWORTH + CLANCY, PLLC, Attorneys for Plaintiff.

                              Submitted and filed by:

                                s/ Jose A. Blanco
                                 ________________
                                Jose A. Blanco, Esq.




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